     Case 6:21-cv-00793-MAD-ATB             Document 8        Filed 03/31/25      Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

         Plaintiff,
                                                         CIVIL ACTION NO.
                 v.
                                                         6:21-CV-793-MAD-ATB
 ONEIDA COUNTY BOARD OF ELECTIONS,

         Defendant.


         JOINT STIPULATION FOR TERMINATION OF CONSENT DECREE

       Pursuant to paragraphs 9 and 10 of the Consent Decree, ECF No. 4, the United States of

America and the Oneida County Board of Elections (the Board), through their undersigned

counsel, hereby stipulate to termination of the Consent Decree entered in this case. ECF No. 4.

       The Consent Decree became eligible for termination on December 5, 2024, which is “30

days after the date of the second general election for federal office following the effective date of

the Const Decree.” Consent Decree ¶ 9. On January 17, 2025, the Board provided a compliance

report to counsel for the United States, with a copy to the New York State Board of Elections.

See id. ¶ 10. On March 19, 2025, the United States informed the Board that its compliance

report demonstrated compliance with the Consent Decree’s requirements, and that termination of

the Consent Decree was therefore appropriate. See id.

       Therefore, the United States and the Oneida County Board of Elections respectfully

stipulate that it is appropriate for this Court to terminate the Consent Decree. See id. ¶¶ 9-10.
Case 6:21-cv-00793-MAD-ATB   Document 8   Filed 03/31/25   Page 2 of 3
Case 6:21-cv-00793-MAD-ATB   Document 8   Filed 03/31/25   Page 3 of 3




                                                      March 31, 2025
